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VIA ECF AND EMAIL                                                                               July 23, 2021
Hon. Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

                 Re: Bilalov v. Gref et al., 1:20-cv-09153-AT-KNF (S.D.N.Y.)

Dear Judge Torres:

        I am writing on behalf of Defendants Sberbank of Russia and its Chairman Herman Gref
(the “Russian Defendants”), pursuant to Rule III.B.iii of Your Honor’s Individual Practices, to
seek permission to move to dismiss the Second Amended Complaint (ECF No. 51) (the “SAC”).
Dismissal is warranted because (i) this action should not be litigated in New York under the
doctrine of forum non conveniens; (ii) the SAC does not establish personal jurisdiction over the
Russian Defendants; (iii) the SAC’s purported federal causes of action, under RICO and the
Alien Tort Statute (“ATS”), are legally unsustainable; and (iv) the SAC’s state law claims should
be dismissed through an exercise of supplemental jurisdiction, as they are barred by the statute of
limitations and deficient for other reasons, and if not so dismissed should be dismissed for lack
of diversity jurisdiction. Tagger v. Strauss Grp. Ltd., 951 F.3d 124, 127 (2d Cir. 2020). We also
join the positions set forth in the letter to you from Sberbank CIB USA, Inc. (“Sberbank CIB”).

    I.     Factual Background

         This action’s core claim is that the Defendant Russian bank (named as a defendant for the
first time in the SAC), its Russian chairman and others, in a series of improper actions in Russia
culminating in 2013, caused Plaintiff, a Russian national, to be deprived of his purported
ownership interest in a Russian property—Krasnaya Polyana—that had been selected as a site
for the 2014 Sochi Olympics.1 SAC ¶¶ 53, 66-69, 72-75, 80-81, 83-91; see also Unsealing Order
at 4 (ECF No. 3) (describing action as “involving decades-old transactions in Russia amongst
Russians”).      Sberbank of Russia was allegedly a lender for financing the necessary
improvements, SAC ¶¶ 49-51, 54, but over time, construction was delayed and additional funds
and efforts were committed to complete the project in time. SAC ¶ 64, 69. The SAC alleges the
Russian Defendants invested additional capital in the project, diluting Plaintiff’s ownership
position to 41.429%, then removed Plaintiff’s brother from management and issued false public
reports that Plaintiff’s brother was responsible for construction delays that threatened the
project’s readiness. SAC ¶¶ 61-62, 69, 77. The SAC claims unspecified improper conduct in a
February 2013 meeting among Plaintiff’s brother, Defendant Gref, and others, that yielded an
agreement whereby Plaintiff’s brother would receive one-third of the enterprise’s assets and
Sberbank of Russia would retain the remaining two-thirds following the Olympics. SAC ¶ 72. It
also characterizes as coercive a subsequent March 2013 meeting, with Defendant Gref allegedly

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 The SAC says Plaintiff’s brother was the actual owner of Krasnaya Polyana and Plaintiff was an unofficial “joint
owner.” SAC ¶ 79. If Plaintiff was not a formal owner of the property, he lacks standing to pursue these claims.
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on the phone, in which Plaintiff and/or his brother agreed to sell their remaining shares for $20
million, far less than their interest’s asserted value. SAC ¶¶ 83-88. Plaintiff claims this sale took
place under pressure and threats, including efforts to initiate criminal proceedings. SAC ¶¶ 87.

        The SAC does not allege that the Russian Defendants (or anyone else) engaged in any
conduct in the United States related to the transfer of ownership of Krasnaya Polyana. Instead, it
seeks to link this Russian dispute to the U.S. by contending that Defendants used Sberbank CIB,
a non-banking, New York-based Sberbank subsidiary, SAC ¶ 25, to engage in an international
money laundering scheme dating back to 1999, and by asserting “on information and belief” and
without supporting facts that “Plaintiff assets which were illegally obtained were…transferred to
and/or through” the U.S after Plaintiff lost ownership of Krasnaya Polyana. SAC ¶¶ 111, 119.

        The SAC further attempts to Americanize this Russian dispute by alleging that after
Plaintiff moved to New York and began seeking compensation years later from various
individuals and entities for the loss of Krasnaya Polyana, individuals asserted to be agents for the
Defendants improperly threatened the Plaintiff in San Francisco and New York between July and
September 2019 that he would face dire personal consequences if he pursued the legal redress he
is now pursuing. SAC ¶¶ 135-142. The SAC also alleges that after Plaintiff moved to Miami in
2019, he was improperly arrested on unspecified charges, assertedly at Defendants’ instigation,
but was released after a brief detention. SAC ¶ 131, 143-44.

   II. This Russian Dispute should be Dismissed on Forum Non Conveniens Grounds

        The Court should exercise its discretion to dismiss this Russia-centric action for forum
non conveniens even before considering the absence of personal jurisdiction over the Russian
Defendants or the SAC’s substantive unsustainability. Freidzon v. Lukoil, 14 civ. 5445(AT),
2015 WL 13021409, at *3 (S.D.N.Y. Mar. 12, 2015). This action involving a Russian national’s
claims about conduct by Russian individuals and entities, governed by Russian law, relating to
property located in Russia, is more properly adjudicated in Russian court. See Bahgat v. Arab
Republic of Egypt, 631 F. App’x 69, 70 (2d Cir. 2016) (affirming dismissal for FNC when “all
but one of the key events” took place in Egypt). The relevant witnesses and evidence are in
Russia, with no substantial connection to the U.S. No Russian Defendant is alleged to have
taken any action in New York; the allegations about the sole U.S. defendant are implausible,
collateral and inadequately pleaded; and the U.S. has insufficient interest in this dispute to
warrant use of this Court’s judicial resources to resolve this dispute.

        Plaintiff’s choice of the New York forum warrants little deference, as he is a foreign
national who does not live here, New York is an inconvenient forum and the invocation of the
civil RICO statute supports an inference of forum shopping. Rudersdal v. Harris, No. 1:18-cv-
11072-GHW, 2020 WL 5836517, at *10 (S.D.N.Y. Sep. 30, 2020). Russian courts are an
available and far more appropriate forum for this dispute, because “defendants are amenable to
service of process there, and [the forum] permits litigation of the subject matter of the dispute.”
Pollux Holding, Ltd. v. Chase Manhattan Bank, 329 F.3d 64, 75 (2d Cir. 2003). Russia has been
found an appropriate forum for similar cases. See, e.g., Base Metal Trading SA v. Russian
Aluminum, 253 F. Supp. 2d 681, 700 (S.D.N.Y. 2003) (RICO, conversion and intentional
interference with contract action dismissed for FNC to Russian courts).
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        The private and public interests implicated in the choice of forum also point to dismissal
in favor of a Russian court. See Iragorri v. United Techs. Corp., 274 F.3d 65, 73-74 (2d Cir.
2001) (en banc). Russia has an interest in this dispute involving alleged “peril[] [to] the Russian
people as a whole,” SAC ¶ 177, through alleged wrongful conduct by Russians harming a
Russian national and relating to high-profile property in Russia. Reers v. Deutsche Bahn Ag, 320
F. Supp. 2d 140, 160 (S.D.N.Y. 2004). Russian adjudication would be “easy, expeditious and
inexpensive” compared to litigation in New York. Pollux Holding, 329 F.3d at 75. The SAC’s
allegations about actions in America do not involve U.S. witnesses or evidence, are incidental or
inconsequential to the substantive claims, and are insufficient to give this Court an interest in
adjudicating this Russia-centered dispute.

   III. The SAC Does Not Establish Personal Jurisdiction over the Russian Defendants

        The Court must have personal jurisdiction over each defendant for each claim before that
claim can proceed. Sunward Elecs., Inc. v. McDonald, 362 F.3d 17, 24 (2d Cir. 2004). The
SAC’s numerous asserted bases for the Court to exercise personal jurisdiction over the Russian
Defendants in New York should all fail, because neither of the Russian Defendants is “present”
in New York, the SAC lacks allegations that each claimed cause of action sustainably arises from
actions by either Russian Defendant in New York, and it would not be reasonable to hale the
Russian Defendants into court here:
• No jurisdiction exists under CPLR § 302(a)(1) because the SAC does not identify how the
    alleged causes of action arise out of actions in New York by either Russian Defendant. Sole
    Resort, S.A. de C.V. v. Allure Resorts Mgmt., LLC, 450 F.3d 100, 103 (2d Cir. 2006). None
    exists under CPLR § 302(a)(3) because the SAC does not identify either Russian Defendant’s
    New York contacts from which any cause of action arises. Hitachi Data Sys. Credit Corp. v.
    Precision Discovery, Inc., 331 F. Supp. 3d 130, 144-45 (S.D.N.Y. 2018);
• Use of RICO’s national jurisdiction provision, 18 U.S.C. § 1965(b), is improper because it
    applies only to parties “in any other district,” not parties (like the Russian Defendants)
    residing abroad. Elsevier, Inc. v. Grossman, 77 F. Supp. 3d 331, 343 (S.D.N.Y. 2015); and
• No jurisdiction exists under Fed. R. Civ. P. 4(k)(2) because the Russian Defendants lack
    sufficient minimum contacts with the U.S. and the exercise of jurisdiction over them would
    be constitutionally unreasonable. See George Moundreas & Co. v. Jinhai Intelligent Mfg.
    Co., No. 20-CV-2626(VEC), 2021 WL 168930, at *10, *13 (S.D.N.Y. Jan. 18, 2021) (citing
    Asahi Metal Indus. Co. v. Superior Ct. of Cal., 480 U.S. 102,113-14 (1987)).

   IV. The SAC’s Purported Federal Claims Are Legally Unsustainable

        The SAC’s four counts (I-IV) for violation of RICO are legally unsustainable on several
grounds, including fundamentally that the SAC disregards strict legal limits on the civil RICO
statute’s extraterritorial reach. Under 18 U.S.C. § 1964(c), a private RICO action must plead
damage to domestic U.S. “business or property” belonging to the plaintiff. Bascuñán v. Elsaca,
874 F.3d 806, 819 (2d Cir. 2017). Plaintiff’s claimed loss of his interest in Krasnaya Polyana in
March 2013 does not constitute an injury to U.S.-based business or property belonging to him.
Nor do alleged threats or injuries to Plaintiff’s person. Eliahu v. Jewish Agency for Israel, 919
F.3d 709, 713 (2d Cir. 2019). That is fatal to his RICO claim.
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         The alleged predicate violations constituting a “pattern of racketeering activity” under
§ 1962(c) must involve domestic U.S. conduct at the “core” of the alleged scheme to defraud.
See Bascuñán v. Elsaca, 927 F.3d 108, 122 (2d Cir. 2019). The SAC does not allege any U.S.
activities at the core of the alleged misappropriation of Plaintiff’s interest in Krasnaya Polyana in
Russia in 2013. The SAC’s allegations of U.S. money laundering of purported “proceeds” of the
alleged taking are conclusory, factually unsupported to the point of implausibility, incongruous
because there are no “proceeds” to launder from acquisition of a property, and causally flawed
because any “laundering” of proceeds from Krasnaya Polyana would necessarily have taken
place after a sale and would consequently be untethered to any harm to Plaintiff. See Hemi Grp.,
LLC v. City of N.Y., 559 U.S. 1, 11 (2010) (dismissing RICO claim when “conduct directly
causing the harm was distinct from the conduct giving rise to the” predicate act).

        Counts I and II are also legally insufficient because they do not allege, as required, that
Plaintiff’s harm flowed directly from investment of racketeering income or acquisition of an
interest in or control over the asserted criminal enterprise. Ouaknine v. MacFarlane, 897 F.2d
75, 83 (2d Cir. 1990); Discon, Inc. v. NYNEX Corp., 93 F.3d 1055, 1062-63 (2d Cir. 1996).
Count III fails because alleged grouping of a company, its chief executive, its subsidiary and its
agents cannot constitute an actionable association-in-fact. U1IT4Less, Inc. v. FedEx Corp., 871
F.3d 199, 205-06 (2d Cir. 2017). Count IV’s allegation of a RICO conspiracy cannot survive
dismissal of the substantive RICO violations. First Capital Asset Mgmt. v. Satinwood, Inc., 385
F.3d 159, 182 (2d Cir. 2004).

        The SAC’s newly added purported claim for breach of the ATS (Count X) cannot be
maintained against the Russian Defendants in light of that statute’s presumption against
extraterritorial application. The SAC’s allegations about events that took place entirely abroad
are outside the ATS’s scope. Balintulo v. Daimler AG, 727 F.3d 174, 189-90 (2d Cir. 2013) (in
ATS action, “[I]f all the relevant conduct occurred abroad, that is simply the end of the matter”).
The U.S. actions on which the SAC seeks to predicate an ATS claim do not fit within the
statute’s purposefully narrow scope. To be actionable under the ATS, conduct cannot simply be
a recognized tort committed in the U.S. against an alien. Instead, it must involve violations
within the U.S. of international law norms that are “specific, universal, and obligatory.” Sosa v.
Alvarez-Machain, 542 U.S. 692, 733 (2004). Applying this narrow standard, the Supreme Court
has counseled severe caution before any application of the ATS to reach beyond U.S. actions
breaching international law norms regarding “violation of safe conducts, infringement of the
rights of ambassadors, and piracy” that were recognized when the statute was enacted in 1789.
Id. at 724-25. Arbitrary arrest, for example, is not actionable under the ATS. Id. at 736. Nor is
fraud. IIT v. Vencap, Ltd., 519 F.2d 1001, 1015 (2d Cir. 1975) (Friendly, J.).

        The SAC cannot rebut the ATS’s presumption against extraterritoriality by alleging
selected acts in the U.S., but must instead plead facts “establish[ing] that the conduct relevant to
the statute’s focus occurred in the United States,” Nestle USA, Inc. v. Doe, 141 S. Ct. 1931, 1936
(2021), or that the conduct “touch[es] and concern[s] the territory of the United States” with
“sufficient force,” Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108, 124-25 (2013). The
SAC’s attempts to bootstrap allegations about U.S. conduct that does not itself amount to a
violation of the ATS to claims focused on Plaintiff’s loss of his property in Russia do not satisfy
this rigorous requirement.
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       For the foregoing reasons, we request permission to file a motion to dismiss the SAC
pursuant to Fed. R. Civ. P. 12.

                                          Respectfully submitted,

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cc: All counsel of record (via ECF)
